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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA



ERIC LASSAIR, ET AL                                          CIVIL ACTION

VERSUS                                                       NO. 19-11377

CITY OF NEW ORLEANS, ET AL                                   SECTION “H”(1)



                                      ORDER

      Considering the Request for Oral Argument filed by the City of New Orleans

(Rec. Doc. 17);

      IT IS ORDERED that oral argument on Defendant’s Motion to Dismiss for

Failure to State a Claim (Doc. 16) is set for September 12, 2019, at 9:30 a.m.

      IT IS FURTHER ORDERED that each party is limited to 7 minutes of

argument.

      IT IS FURTHER ORDERED that this order shall not be interpreted to alter

the briefing deadlines for the Motion to Dismiss for Failure to State a Claim (Doc.

16), and all briefs shall be submitted by August 28, 2019.

      New Orleans, Louisiana, on this 5th day of August, 2019.



                        _______________________________
                           JANE TRICHE MILAZZO
                       UNITED STATES DISTRICT JUDGE
